Case 23-11777-mdc   Doc 31   Filed 06/23/23 Entered 06/23/23 12:26:31   Desc Main
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         Case 23-11777-mdc                   Doc 31        Filed 06/23/23 Entered 06/23/23 12:26:31                                 Desc Main
                                                           Document     Page 2 of 2
Fill in this information to identify the case:

                  Int. Assoc. of Sheet Metal, Air, Rail & Transportation Workers,
Debtor name       Transportation Div., Local 1594

United States Bankruptcy Court for the:     EASTERN DISTRICT OF PENNSYLVANIA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            4 cell phone contracts
           lease is for and the nature of
           the debtor's interest

               State the term remaining          3 @ 35 months and 1 @
                                                 5 months                           AT&T
           List the contract number of any                                          P.O.Box 6463
                 government contract                                                Carol Stream, IL 60197-6463


2.2.       State what the contract or            Real Estate Lease-
           lease is for and the nature of        Smart TD Local 1594 as
           the debtor's interest                 tenant, $1,500.00 per
                                                 month
               State the term remaining          10 months
                                                                                    Haokun K. Zheng
           List the contract number of any                                          1030 Arch Street
                 government contract                                                Philadelphia, PA 19107


2.3.       State what the contract or            Contract between
           lease is for and the nature of        Smart Local 1594 and
           the debtor's interest                 Septa, dated November
                                                 2021                               Southeastern Pennsylvania
               State the term remaining                                             Transportation Authority
                                                                                    1234 Market Street
           List the contract number of any                                          Fourth Floor
                 government contract                                                Philadelphia, PA 19107




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
